                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION
                          Civil Action No. 5:23-cv-00150-M-RJ


 ROBERT MICHAEL ARDIS,

                    Plaintiff,

 V.
                                                                   ORDER
 DARLENE DICKEY,
 WILLIAM EDDINS,
 GREGORY MARCILLE,
 TIMOTHY REGISTER,
 THOMAS WILLIAMS,
 JANE DOES 1-10, and
 JOHN DOES 1-10,

                 Defendants.


       This matter comes before the court on the memorandum and recommendation ("M&R")

issued by United States Magistrate Judge Robert B. Jones, Jr. pursuant to 28 U.S.C. § 636(b)(l)

and Federal Rule of Civil Procedure 72(b). DE 21. After conducting a frivolity review in

accordance with 28 U.S.C. § 1915, Judge Jones recommends that this court dismiss Plaintiffs

complaint for improper venue and failure to state a plausible claim for relief. Id. at 6-7. Judge

Jones instructed the Plaintiff to file any written objections to his recommendation on or before

May 15, 2024. Id.

       On May 14, 2024, Plaintiff moved for an extension of time in which to file objections, and

Judge Jones extended the deadline to Monday, June 17, 2024. DE 22, 23. On June 28, 2024,

Plaintiff filed a document titled, "Verified Objections to Magistrate Judge's Report and

Recommendation," and dated the document, "June 17, 2024." DE 24. However, the postage stamp




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on the envelope containing the document reflects it was mailed from Columbia, South Carolina on

June 2-, 2024; the second digit in the date is illegible. See DE 24-1. In any event, it is evident that

the document was neither filed nor mailed on or before the deadline, particularly given the

presumption that regular mail takes approximately three days and the document was received in

this court on June 28, 2024. See Fed. R. Civ. P. 6(d). Plaintiff neither sought leave to file his

objections out of time nor mentioned in the document the fact that his filing was late. See DE 24.

Notably, Plaintiff had filed his motion for extension of time before the original deadline expired.

       A magistrate judge' s recommendation carries no presumptive weight. The court "may

accept, reject, or modify, in whole or in part, the ... recommendation[ ] ... receive further evidence

or recommit the matter to the magistrate judge with instructions." 28 U.S.C. § 636(b)(l); accord

Mathews v. Weber, 423 U.S. 261 , 271 (1976). The court "shall make a de novo determination of

those portions of the report or specified proposed findings or recommendations to which objection

is made." Id. § 636(b )(1 ). Absent a specific and timely objection, the court reviews only for "clear

error" and need not give any explanation for adopting the recommendation. Diamond v. Colonial

Life &Accident Ins. Co., 416 F.3d 310, 315 (4th Cir. 2005).

       The court finds that Plaintiffs objections are untimely and, thus, it is authorized to proceed

to review the M&R only for clear error. However, even if the court were to conduct a de novo

review, the court would overrule Plaintiffs objections. First, Judge Jones made no credibility

determinations nor used inflammatory or unprofessional language in the M&R, and any reference

to "nutty," "delusional," or "wholly fanciful" allegations is to a mere parenthetical quote from the

Fourth Circuit Court of Appeals describing factual allegations that constitute frivolous claims. See

M&R, DE 21 at 1.        Furthermore, Judge Jones properly found that the operative Amended

Complaint fails to allege proper venue in accordance with 28 U.S.C. § 1391(b); none of the



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Defendants reside in this district, a substantial part of the events giving rise to Plaintiffs claims

occurred in Florida and/or South Carolina, not in this district, and given the allegations, it is

unlikely any Defendant would be subject to personal jurisdiction in this district. Plaintiff contends

that his arrest in Goldsboro, North Carolina suffices to establish venue under § 1391(b)(2);

however, he mentions the arrest minimally in the 103-paragraph, 25-page pleading and admits that

he "does not seek to hold No[r]th Carolina authorities liable" in this case. Am. Compl. ,i 43.

       Finally, despite Plaintiffs protestations to the contrary, Judge Jones, in considering

whether transfer or dismissal is appropriate under 28 U.S.C. § 1406(a), correctly determined that

Plaintiffs allegations are improperly vague under Rule 8 of the Federal Rules of Civil Procedure

in failing to state "who did what to whom"; instead, Plaintiff's allegations merely "lump" the

Defendants (six named and John and Jane Does 1-10) altogether in asserting each factual statement

or legal conclusion. See Am. Compl. ,i,i 17-103, DE 19. Further, Judge Jones notes that Plaintiff

has filed actions based on the same or similar allegations in South Carolina and Florida, both of

which (according to Plaintiff) appear to remain pending. Thus, the court finds justice does not

warrant transfer, as opposed to dismissal, of this action.

       Upon careful review of the M&R and the record presented, and finding no error in law or

fact, the court ADOPTS the recommendation of the magistrate judge as its own. For the reasons

stated therein, Plaintiffs complaint is DISMISSED WITHOUT PREJUDICE for improper venue

pursuant to 28 U.S.C. § 1915(e)(2)(B). The Clerk of Court is directed to close this case.


       SO ORDERED this _3_�_day of March, 2025.




                                                      RICHARD E. MYERS II
                                                      CHIEF UNITED STATES DISTRICT JUDGE


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